Case 3:19-cv-00044-NKM-JCH Document 64 Filed 06/29/20 Page 1 of 3 Pageid#: 629




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA



                                                     )
 JASON KESSLER et al.,                               )
                                                     )
        Plaintiffs,                                  )
                                                     )
                                                     )
                                                     )
                                                     )
                                                     )       Civ. No: 3:19-cv-00044
                                                     )
                                                     )
 v.                                                  )
                                                     )
 CITY OF CHARLOTTESVILLE, et al.,                    )
                                                     )
                                                     )
                                                     )
                                                     )
        Defendants.                                  )
                                                     )

                                     NOTICE OF APPEAL

        Notice is hereby given that Plaintiffs in the above captioned action hereby appeal to the

 United States Court of Appeals for the Fourth Circuit from the February 21, 2020 Order

 dismissing the case (Docket No. 53 with Opinion at Docket No. 52), and from the June 18, 2020

 Order denying reconsideration (Docket No. 63 with Opinion at Docket No. 62).
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                                    Respectfully submitted,

 Date: June 29, 2020

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                                   Counsel for Plaintiffs
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on June 29, 2020, I caused a true and accurate copy of the foregoing
 Notice to be electronically filed with the Clerk of Court using the CM/ECF System, that I
 served all parties via the CM/ECF System, and I further certify that no party requires or is
 entitled to service by other means.




                                              By: /s/ James E. Kolenich PHV
                                              James E. Kolenich (OH 0077084)
